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                EXHIBIT 26
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                                                      U.S. DEPRRTmEnr OF JUSTICE

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                                                                                     Washington, D.C. 2Q_!?_~?~
           CARDINAL HEALTH                                                           December 27, 2007
           6012 MOLLOY RD
           SYRACUSE NY, 13211-0000



           I111II11 I l11 [I 1I111II111llll111II111II111II11111I1 II               In reference to registration
                                                                                         # PC0003044
   Dear Registrant:
           This letter is being sent to every entity in the United States registered with the Drug
   Enforcement Administration (DEA) to manufacture or distribute controlled substances. The purpose
   of this letter is to reiterate the responsibilities of controlled substance manufacturers and distributors
   to inform DEA of suspicious orders in accordance with 21 CFR 1301.74(b).

          ln addition to , and not in lieu of, the general requirement under 21 USC 823, that
   manufacturers and distributors maintain effective controls against diversion, DEA regulations require
   all manufacturers and distributors to report suspicious orders of control led substances. Title 21 CFR
   1301.74(b), specifically requires that a registrant "design and operate a system to disclose to the
   registrant suspicious orders of controlled substances." The regulation clearly indlcates that it is the
   sole responsibility of the registrant to design and operate such a system. Accordingly, DEA does not
   approve or otherwise endorse any specific system for reporting suspicious orders. Past
   communications with DEA, whether implicit or explicit, that could be construed as approval of a
   particular system for reporting suspicious orders, should no longer be taken to mean that DEA
   approves a specific system.

          The regulation also requires that the registrant inform the local DEA Division Office of
   suspicious orders .YYb&._f1...dJ.t>c9_y_ere.d. by the registrant. Filing a monthly report of completed
   transactions (e.g., "excessive purchase report" or "high unit purchases") does not meet the regulatory
   requirement to report suspicious orders. Registrants are reminded that their responsibility does not
   end merely with the filing of a suspicious order report. Registrants must conduct an independent
   analysis of suspicious orders prior to completing a sale to determine whether the controlled
   substances are likely to be diverted from legitimate channels. Reporting an order as suspicious will
   not absolve the registrant of responsibility if the registrant knew, or should have known, that the
   controlled substances were being diverted,

           The regulation specifically st.ates that suspicious orders include orders of an unusual size,
   orders deviating substantially from a normal pattern, and orders of an unusual frequency. ThE::se
   criteria are disjunctive and are not all inclusive. For example, if an order deviates substantially from a
   normal pattern, the size of the order does not matter and the order should be reprnied as suspicious.
   Likewise, a registrant need not walt for a "normal pattern" to develop over time before determining
   whether a particular order is suspicious. The size of an order alone, whether or not it deviates from a
   normal pattern, is enough to trigger the registrant's responsibility to report the order as suspicious.
   The determination of whether an order is suspicious depends not only on the ordering patterns of Hie
   particular customer, but also on the patterns of the registrant's customer base and the pat.terns
   throughout the relevant segment of the regulated industry.



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          Registrants that rely on rigid formulas to define whether an order is suspicious may be failing
  to detect suspicious orders. For example, a system that identifies orders as suspicious only if the
  total amount of a controlled substance ordered during one month exceeds the amount ordered the
  previous month by a certain percentage or more is insufficient. This system fails to Identify orders
  placed by a pharmacy if the pharmacy placed unusually large orders from the beginning of its
  relationship with the distributor. Also, this system would not identify orders as suspicious if the order
  were solely for one highly abused controlled substance if the orders never grew substantially.
  Nevertheless, ordering one highly abused controlled substance and little or nothing else deviates
  from the normal pattern of what pharmacies generally order.

         When reporting an order as suspicious, registrants must be clear in their communications with
  DEA that the registrant is actually characterizing an order as suspicious. Daily, weekly, or monthly
  reports submitted by a registrant indicating "excessive purchases" do not comply wiU1 the
  requirement to report suspicious orders, even if the registrant calls such reports "suspicious order
  reports."

         Lastly, registrants that routinely report suspicious orders, yet fill these orders without first
  determining that order is not being diverted into other than legitimate medical, scientific, and industrial
  channels, may be failing to maintain effective controls against diversion. Failure to maintain effective
  controls against diversion is inconsistent with the public interest as that term is used in 21 use 823
  and 824, and may result in the revocation of the registrant's DEA Certificate of Registration.

          For additional information regarding your obligation to report suspicious orders pursuant to 21
  CFR 1301 .74(b), l refer you to the recent final order issued by the Deputy Administrator, DEA, in the
  matter of Southwood Pharmaceuticals Inc., 72 FR 36487 (2007) . In addition to discussing the
  obligation to report suspicious orders when discovered by the registrant, and some criteria to use
  when determining whether an order is suspicious, the final order also specifically discusses your
  obligation to maintain e ffective controls against the diversion of controlled substances.


                                                                 Sincerely,




                                                                   ph T. Rannazzisi
                                                              Deputy Assistant Administrator
                                                              Office of Diversion Control




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